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UNITED STATES DISTRICT COURT FOR THE
SOUTHERN DISTICT OF FLORIDA

CASE NO.: 19-CV-23694-DPG

XPORT AUTO PARTS, INC.,
A Florida Corporation,

Plaintiff(s),
V.

www.xportautoparts.com; GoDaddy.com, LLC;
Unknown Registrant A/K/A Memerio Kernado
A/K/A Jed Doering; Registrar of Domain Names
Reg.Ru, LLC,

Defendants.
/

PLAINTIFF’S EXPEDITED EX-PARTE APPLICATION FOR ENTRY OF
TEMPORARY RESTRAINING ORDER, PRELIMINARY INJUNCTION AND
MEMORANDUM OF LAW IN SUPPORT THEREOF

 

The Plaintiff, XPORT AUTO PARTS, INC., by and through undersigned counsel and
pursuant to Fed. R. Civ. P. 65, files this Expedited Ex-Parte Application for Entry of Temporary

Restraining Order (the “Application”) against Defendants, and states as follows:

I INTRODUCTION

1. Plaintiff XPORT AUTO PARTS, INC. is a family business that was founded and
incorporated in the State of Florida on or about September 12, 2011. Plaintiff's is in the
business of exporting automobile parts to over 80 countries.

2. Since 2011, XPORT AUTO PARTS, INC. has owned the domain name
xportautoparts.com, and has utilized this domain name (the “Domain Name”) as its portal

to the world and main source of business and clientele.
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3. On August 15, 2019, the Domain Name was stolen through a cybertheft known as domain
name high-jacking, in a malicious scheme conducted by Defendant with the sole purpose
of demanding ransom (payable in bitcoin) for the return of the domain name.

PARTIES

4. Plaintiff XPORT AUTO PARTS, INC. is a Florida corporation with its principal address
at 1070 SE 9th Terrace, Hialeah, FL 33010.

5. Defendant GoDaddy.com, LLC is a corporation, duly organized and existing under the
laws of Delaware, with its principal office and place of business located in Scottsdale,
Arizona. Based on information and belief, Defendant GoDaddy.com, LLC does business
in the State of Florida.

6. Defendant Registrar of Domains Reg.Ru LLC is a Russian entity with a principal office
and place of business located in Russia. Based upon information and belief, Reg-Ru does
business in the State of Florida.

7. Defendant Unknown Registrant A/K/A Memerio Kernado A/K/A Jed Doering
(“Unknown Registrant”) is an unknown person residing in an unknown location. Based
upon information and belief, Defendant Unknown Registrant has engaged in substantial
activity in the State of Florida in connection with the matters from which this action
arises. Additionally, based on information and belief, Defendant Unknown Registrant
uses the aliases “Memerio Kernado” and “Jed Doering;” however, Plaintiff has reason to
believe that these are not the Unknown Registrant’s real name.

8. Non-Party VERISIGN, Inc. (hereinafter “VERISIGN”) is a corporation, duly organized

and existing under the laws of the State of Delaware, with its principal office and place of
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business located in Virginia. Based on information and belief, Defendant VERISIGN
does business in the State of Florida.
Non-Party Internet Corporation for Assigned Names and Numbers (hereinafter
“ICANN”) is a nonprofit corporation, organized and existing under the laws of the State
of California, with its principal office and place of business located in Marina del Rey,
California. Based on information and belief, Non-Party ICANN does business in the State
of Florida.

JURISDICTION AND VENUE
The Plaintiff is seeking injunctive and other equitable relief as a result of the actions of
Defendants Unknown Registrant and Registrar of Domain Names Reg.Ru, LLC

(“Reg.Ru”).

. Unknown Registrant has taken control of the Domain Name, in violation of Plaintiff s

trademark rights, and redirected the income generated to Unknown Registrant’s name.
By his unauthorized actions, Unknown Registrant has prevented Plaintiff from using and
controlling its domain name, causing irreparable injury to Plaintiff.

This action arises out of Unknown Registrant’s violation of Anti-cybersquatting
Consumer Protection Act, 15 U.S.C. § 1125(d) and the Computer Fraud and Abuse Act,
18 U.S.C. 1030.

This Court has original jurisdiction pursuant to 15 U.S.C. § 1121 and 28 U.S.C. § 1338.
This Court has federal question jurisdiction pursuant to 28 U.S.C. § 1331. The Court has
subject matter jurisdiction over this action pursuant to 28 U.S.C. § 1331 because this
action arises out of Defendant’s violation of the Federal Computer Fraud and Abuse Act,

(18 U.S.C. § 1030), Electronic Communications Privacy Act (18 U.S.C. § 2701), and the
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Lanham Act (15 U.S.C. §§1114, 1125). This Court has supplemental jurisdiction to
decide state law claims pursuant to 28 U.S.C. § 1367.

14. Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b) and (c).

15. Further, the matter in controversy exceeds the sum of or value of $75,000, exclusive of
interest and costs. This Court has subject matter jurisdiction over this action under 28
U.S.C. § 1332.

Wt. STATEMENT OF FACTS

16. Plaintiff XPORT AUTO PARTS, INC. was founded and incorporated in the State of
Florida on or about September 12, 2011. XPORT AUTO PARTS, INC. was founded by Alina
Menendez and her spouse Silverio Menendez, who has recently passed away. Plaintiff is in the
business of exporting automobile parts to over 80 countries.

17. Since the year 2011, XPORT AUTO PARTS, INC. has continuously and without
interruption operated under the name and utilized the trademark/service mark “Xport Auto
Parts” to market its services throughout the world, and based on this prior use, owns the
trademark/service mark “Xport Auto Parts” (hereinafter also referred to as the
“Trademark”) and is entitled to trademark protection of its name.

18. Since its inception, XPORT AUTO PARTS, INC. has spent well over $1,211,648
advertising and marketing its services and brand over the Internet using its Trademark.

19. As a result of XPORT AUTO PARTS, INC.’s use of the Trademark throughout since the
year 2011, including extensive advertising and promotion of its services, the Trademark is
distinctive and has become well known and famous in the geographic regions in which
Plaintiff does business, has acquired name recognition and invaluable good will, and has

acquired secondary meaning such that the public throughout the 80 countries in which it
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does business associates the Trademark with XPORT AUTO PARTS, INC.’s high quality
products and service.

20. While XPORT AUTO PARTS, INC. principal place of business is located in Hialeah,
Florida, it has clientele from around the world who purchase products from the company.
Thus, its Internet advertising, which primarily takes place on its website,
www.xportautoparts.com, is essential to market its services to individuals and clients
around the world.

21. The Plaintiff XPORT AUTO PARTS, INC.! acquired the domain name
www.xportautoparts.com on or about September 9, 2011 through the domain name
registrar GoDaddy.com, LLC, a nominal defendant to this action. GoDaddy.com is a
registrar, that is, an organization that is accredited to sell domain names that are managed

by Verisign, the top-level domain name registry of .com domain names?.

 

' The Domain Name was originally registered to Silverio Menendez under his personal name and
at all times thereafter in and for the exclusive benefit of Xport Auto Parts, Inc. Silverio
Menendez was one of the two principals and shareholders of Xport Auto Parts, Inc., the other
principal and shareholder being Silverio Menendez’s spouse, Alina Menendez. Silverio
Menendez has since passed away, and Alina Menendez is the successor in interest to Xport Auto
Parts, Inc. At all times since the registration of the Domain Name, all income derived therefrom
has been for the exclusive benefit of Xport Auto Parts, Inc., and all payment processing and
shopping cart checkout facilities on the website were processed into Xport Auto Parts, Inc.
merchant and bank accounts.

* Non-party ICANN manages the Domain Name System (DNS) and accredits registrars to sell top-level
domain names (such as .com, .net, .info). As relates to .com domain names, ICANN has authorized
Verisign as the top-level domain name registry for the management of the registration of .com domain
names (through ICANN accredited registrars), and of their domain name system (DNS). The 2012 “.com
Registry Agreement” between ICANN and Verisign can be accessed online at
https://www.icann.org/resources/agreement/com-2012-12-01-en .
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Verisign operates the authoritative registries .com, .net, name, .cc, .tv, A, 548, Stand mp
domain names, and provides domain registry services for jobs and new gTLDs. Verisign does
not register or renew domain names—we work with domain registrars to register domain
names. Find a registrar now!

 

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GoDaddy.com, LLC United States | .com, .net, .tv, .cc, .name

 

22. Plaintiff XPORT AUTO PARTS, INC., utilized the website that was accessible through
the Domain Name to operate a promotional web page for its business, and the Domain
Name has generated business and income exclusively for XPORT AUTO PARTS, INC.
For instance, all merchant accounts, virtual terminals and e-commerce shopping cart
payment facilities from the Domain Name were, since its inception, owned and operated
by XPORT AUTO PARTS, INC.

23. In support of and as proof of Plaintiffs ownership of the Trademark, the following

exhibits are attached hereto:
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a. A copy of the email confirming the initial registration of the
www.xportautoparts.com registration in September of 2011,° attached as Exhibit
“A” hereto.

b. Business Tax Receipts from 2011 to present, attached as composite Exhibit “B”
hereto.

c. Annual Resale Certificate for Sales Tax for the years 2011, 2013, 2014, 2017,
2018 and 2019, attached as Exhibit “C” hereto.

d. Google Adwords Account detail for www.xportautoparts.com from December 3,
2013 to present, representing $1,211,648.80 invested in advertisements for the
domain name, attached as Exhibit “D” hereto.

e. Photos of the XPORT AUTO PARTS, INC.’s logo and advertisements, attached
collectively as Composite Exhibit “E” hereto, which demonstrate that XPORT
AUTO PARTS, INC. is the owner of the Xport Auto Parts name, and are
indicative of OUR extensive use of the Xport Auto Parts name in commerce.

24. On or about August 15, 2019, the Plaintiff discovered that its domain name had been
transferred without Plaintiff's authorization to a different named owner, Defendant
Unknown Registrant, with a different registrar, Reg.Ru. Like Nominal Defendant
GoDaddy, Defendant Registrar of Domain Names Reg.Ru, LLC is a registrar that is

accredited to sell .com domain names, operated by Verisign.

 

3 The domain name was originally registered by my father Silverio Menendez, who was one of
the two principals of Xport Auto Parts, Inc., the other principal being my mother Alina
Menendez. Unfortunately, my father Silverio Menendez has since passed away, and the
business, including all intellectual property and the www.xportautoparts.com domain name,
remain property of Xport Auto Parts, Inc., of which my mother is the only living remaining
shareholder.
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& VERISIGN: Q ® =

Verisign operates the authoritative registries .com, .net, name, .cc, .tv, A, Sh, Stel and nip
domain names, and provides domain registry services for jobs and new gTLDs. Verisign does
not register or renew domain names-——we work with domain registrars to register domain
names. Find a registrar now!

 

| Q reg.ru

Registrar Name oe Location Ae Top-Level
Pela ie

 

REGISTRAR OF DOMAIN

NAMES REG.RU LLC Russian Federation com, .net, name

 

 

The Plaintiff's account was hacked by Defendant Unknown Registrant, who fraudulently
transferred the domain name www.xportautoparts.com to Defendant Unknown
Registrant’s own account with Defendant Registrar of Domain Names Reg.Ru, LLC in
the hope of extracting a ransom or quick payoff from the owner.

The Defendant Unknown Registrant’s transfer of the domain name
www.xportautoparts.com was in bad faith, and for the singular purpose of seeking to
extract a ransom from Plaintiff.

Indeed, Plaintiff received ransom letters via email, copies of which are attached as
Exhibit “F,” in which the Defendant Unknown Registrant demands payment in bitcoin to

transfer the domain name back to the Plaintiff.
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28. The Domain Name is highly valuable and its loss has deprived the Plaintiff of the income

revenue generated by the business as well as depriving Plaintiff of sales of its auto parts

and development of new client relationships.

29. Based upon knowledge and belief, non-party ICANN has authorized Defendant Reg.Ru,

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LLC as an ICANN accredited registrar to sell .com domain names, managed by Verisign,
and therefore ICANN and Verisign can facilitate the transfer of a .com domain name
between .com registrars and to the proper registrant.

Thus, ICANN and Verisign provide the means and online facilities through which the
Defendant Unknown Registrant is transferring the domain name to its own registrar,

Defendant Registrar of Domain Names Reg.Ru, LLC.

. The Defendant Unknown Registrant’s unlawful activities have deprived Plaintiff of its

right to utilize its domain name in connection with its sale of auto parts in interstate
commerce and around the world. Indeed, the Defendant Unknown Registrant is seeking
to profit illegally by demanding ransom from the Plaintiff. Defendant Unknown
Registrant should not be permitted to continue its unlawful activities, which is causing
the Plaintiff ongoing irreparable harm. Accordingly, Plaintiff is seeking entry of a
temporary restraining order prohibiting the Defendant Unknown Registrant and the
Defendant Reg.Ru from further wrongful use of Plaintiff's domain name, and a writ of
mandamus requiring the Defendant VERISIGN to transfer the domain name back to
GoDaddy and back to Plaintiffs possession.

Moreover, Plaintiff has good reason to believe that the Defendants will further transfer,
sell or otherwise further remove the Domain Name from the Court’s access unless

immediately restrained. To preserve the Plaintiff's ability to obtain a remedy against the
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on an ex parte basis. For these same reasons, Plaintiff is in immediate need of a
preliminary injunction and therefore requests the entry of a preliminary injunction on an
expedited basis pursuant to Local Rule 7.1(d)(2) of the U.S. District Court for the

Southern District of Florida.

. Plaintiff requests that a ruling be entered as soon as possible, but in any case before

September 12, 2019. An expedited ruling within this time frame would limit the ongoing
loss of Plaintiff's mark, goodwill and customers, thereby minimizing the harm being
caused to Plaintiff while increasing the likelihood that Plaintiff may obtain meaningful
relief.

For the reasons set forth in paragraph 33 above and within the body of this verified
motion, Plaintiff requires injunctive relief without notice to the Defendants pursuant to

Fed. R. Civ. P. 65 and applicable case law.

IV. ARGUMENT

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A. A Temporary Restraining Order is Essential to Prevent Immediate Injury

Rule 65(b) of the Federal Rules of Civil Procedure provides, in part, that a temporary
restraining order may be granted without written or oral notice to the opposing party or
that party’s counsel where it clearly appears from the specific facts shown by affidavit
“that immediate and irreparable injury, loss, or damage will result to the movant before
the adverse party can be heard in opposition.” Fed. R. Civ. P. 65(b).

The Plaintiff is suffering, and continues to suffer, irreparable harm by way of loss of its
website and portal to the world, its business, its clientele and new potential clientele, and
by ongoing embarrassment of its customers entering a non-functioning website and

potentially then taking its business elsewhere.

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by ongoing embarrassment of its customers entering a non-functioning website and
potentially then taking its business elsewhere.

Moreover, due to the daily losses of business, customers and potential customers, the
injury is immediate and exacerbated by any delays in obtaining the injunctive relief
requested herein. The entry of a temporary restraining order would serve to immediately
stop the Defendants from benefiting from the wrongful taking of the Plaintiff's domain
name and demands for ransom. See Dell, Inc. v. BelgiumDomains, LLC, Case No. 07-
22674 WL 6862341, at *2 (S.D. Fla. Nov. 21, 2007) (finding that ex parte relief is
acceptable where Defendants’ scheme “‘is in electronic format and subject to quick, easy,
untraceable destruction by Defendants.”).

Unless a temporary restraining order without notice is granted, Defendants can
significantly alter the status quo before the Court can determine the parties’ respective
rights. In particular, the Defendants can take further actions to further transfer the domain
name and remove it from this Court’s reach. Such actions can happen instantaneously
after Defendants are provided with notice of this action, thereby thwarting the Court’s
ability to grant meaningful relief.

B. Standard for Temporary Restraining Order and Preliminary Injunction

It is well settled that a temporary restraining order should be granted where the moving
party is able to demonstrate the existence of the following: (a) irreparable injury will be
suffered if relief is not granted, (b) that there is a substantial likelihood of success on the
merits, (c) the harm suffered by the movant in the absence of an injunction would exceed
the harm suffered by the opposing party if the injunction issued, and (d) an injunction

would not disserve the public interest. N. Am. Med. Corp. v. Axiom Worldwide, Inc., 522

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F.3d 1211, 1217 (11th Cir. 2008); Schiavo ex. Rel Schindler v. Schiavo, 403 F.3d 1223,
1225-26 (11th Cir. 2005).

1. Irreparable Injury Will Be Suffered If Relief Is Not Granted
As set forth above, irreparably injury will result if the Defendants are permitted to
continue holding the Plaintiff's domain name under an unauthorized registrant account
under the Defendant Unknown Registrant’s name, being maintained by the Defendant
Reg.Ru. The loss of the domain name is causing irreparable damage to the Plaintiff's
reputation, brand, image, customer relationships and potential customer relationships.

2. Likelihood of Success on the Merits on Plaintiff’s Claim under the Anti-

Cybersquatting Consumer Protection Act 15 U.S.C. 1125 § (d)(1).

As set forth in Count I of Plaintiff's Complaint, 15 U.S.C. 1125 § (d)(1) provides that “a
person shall be liable in a civil action by the owner of a mark, including a personal name
which is protected as a mark under this section, if, without regard to the goods or services
of the parties, that person—(i) has a bad faith intent to profit from that mark, including a
personal name which is protected as a mark under this section; and (ii) registers, traffics
in, or uses a domain name that—(I) in the case of a mark that is distinctive at the time of
registration of the domain name, is identical or confusingly similar to that mark; (ID) in
the case of a famous mark that is famous at the time of registration of the domain name,
is identical or confusingly similar to or dilutive of that mark.”
In the case at hand, the name “Xport Auto Parts” is distinctive and entitled to protection.
Additionally, the Defendant Unknown Registrant fraudulently hijacked the domain name
Wwww.xportautoparts.com from the Plaintiff in bad faith, as demonstrated by the ransom

e-mails sent by Defendant Unknown Registrant attempting to profit from the theft.

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44, Accordingly, Plaintiff has a high likelihood of success on the merits as to Count I for
violation of the Anti-Cybersquatting Consumer Protection Act.

3. The Harm Suffered by Plaintiff In The Absence of an Injunction Exceeds
the Harm Suffered by the Opposing Party if the Injunction Issued.

45. The harm that is being suffered by Plaintiff far outweighs the potential harm that may be
suffered by the Defendants if an injunction were to be issued.

46. The Plaintiff is suffering, and continues to suffer, irreparable harm by way of loss of
revenue, loss of business and loss of business opportunities.

47. To date, Plaintiff is aware of a loss of approximately $125,000-$145,000 in revenue.

48. Additionally, because of Defendant Unknown Registrant’s actions, Plaintiff is being
prevented from using and exercising control over its domain name.

49. Defendant Unknown Registrant will not suffer any harm if this Court grants an injunction
and transfers the domain name back to the Plaintiff, the rightful owner. Defendant
Unknown Registrant’s sole purpose in hijacking the domain name is to extract a ransom
from the Plaintiff.

50. Accordingly, the relative potential harm to be suffered by the Defendants by entry of an
injunction is minimal as compared with the harm that the Plaintiff continues to suffer in
the absence of an injunction.

4. The Entry of Injunctive Relief Would Serve the Public Interest.

51. The public interest would be served by enjoining the Defendant Unknown Registrant’s
theft of the Plaintiff's domain name.

52. Federal statutes have codified protection to the public from cybercrimes such as this one

by way of the Anti-Cybersquatting Consumer Protection Act.

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53. The public interest would also be served in preventing internet thieves from profiting off

of unlawfully stealing domain names for the purpose of extracting a ransom.
5. Plaintiff Lacks an Adequate Remedy at Law.

54. The Plaintiffs right and ability to use and control its domain name and Trademark has
been violated by the actions of Defendants. Furthermore, the Plaintiff is being prevented
from being able to operate its business, which is substantially conducted online through
its website at the www.xportautoparts.com domain name, causing irreparable harm to the
Plaintiff and its reputation. As such, Plaintiff’s remedies are limited, and simple monetary
damages are insufficient to cure the damages suffered by Plaintiff.

55. Injunctive relief is the only remedy available to prevent further irreparable harm to the
Plaintiff.

V. CONCLUSION

56. Due to the substantial loss Plaintiff continues to suffer as a result of Defendant Unknown
Registrant’s unlawful hijacking of Plaintiff's domain name and Trademark, equity
requires that

a. The Defendant Unknown Registrant be immediately enjoined from further
registering and trafficking in the domain name www.xportautoparts.com;

b. The Defendant Unknown Registrant be ordered to immediately transfer the
domain name www.xportautoparts.com back to Plaintiffs account at the
GoDaddy, LLC.com registrar; and

c. To the extent that Defendant Unknown Registrant does not comply with
paragraph (a) and (b) above within 24 hours of entry of a Temporary Restraining

Order, Non-Parties ICANN and Verisign shall, within one business day of receipt

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57. The balance of potential harm to Defendants in restraining their unauthorized use of the
illegally obtained domain name if a temporary restraining order is issued is far
outweighed by the potential harm to Plaintiff if such relief is not granted.*

58. Moreover, if Plaintiff proceeds on notice to the Defendants of this Application for
Temporary Restraining Order, Defendant Unknown Registrant can easily and quickly
transfer ownership and registration of the domain name to another account with another
registrar, thereby thwarting Plaintiff’s ability to obtain meaningful relief.

59. Finally, Plaintiff requests that this Court enter a ruling on an expedited basis pursuant to
Local Rule 7.1(d)(2) of the U.S. District Court for the Southern District of Florida. For
the reasons stated in this motion, Plaintiff requests that a ruling be made on or before

September 12, 2019.

WHEREFORE, the Plaintiff respectfully requests this Honorable Court enter immediate
injunctive relief as set forth in this verified motion; that this Honorable Court enter an Order
compelling the Defendants Unknown Registrant and Reg.Ru and all others acting in concert with
the said Defendants to transfer the Domain Name back to the Plaintiff's account with the
GoDaddy.com LLC registrar; prohibiting the Defendants Unknown Registrant and Reg.Ru from
taking any action to deprive the Plaintiff of its ownership and use of its Domain Name
www.xportautoparts.com; and for such other and further relief as this Court deems just and
appropriate under the circumstances.

Dated: September 5, 2019

 

* The balance of potential harm to the Defendants, in fact, is so far greatly outweighed by the
actual harm being suffered by the Plaintiff that no bond, or a nominal bond, should be required
of the individual Plaintiff in this action and the Plaintiff respectfully request this Honorable
Court to forego a bond or only require a nominal bond based upon the circumstances.

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Respectfully submitted,

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Recalde Law Firm, P.A.

10800 Biscayne Blvd, Suite 440
Miami, FL 33161
Ph: 305-792-9100
Fax: 1-305-517-1407

   

Rafael Recalde, Esq.
FBN: 60040
Primary: geremy@recaldelaw.com

Secondary: rafael@recaldelaw.com
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CERTIFICATION REGARDING NOTICE PURSUANT TO RULE 65(b)(1)(B)

Notice of this Ex Parte Expedited Motion for Temporary Restraining Order, Preliminary
Injunction and Memorandum of Law in Support Thereof should not be required because unless a
temporary restraining order without notice is granted, Defendants can significantly alter the
status quo before the Court can determine the parties’ respective rights and can take further and
malicious actions to transfer ownership and registration of the domain name to another account
with another registrar. Such actions can happen instantaneously after Defendants are provided
with notice of this action, thereby thwarting the Court’s ability to grant meaningful relief.

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Geremy/KJlein, Esq.

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